Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 1 of 41 PageID# 107




                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division


    DEVIN G. NUNES                                )
                                                  )
            Plaintiff,                            )
                                                  )
    v.                                            )               Case 1:19-cv-1148-LO-TCB
                                                  )
                                                  )               TRIAL BY JURY
    FUSION GPS a/k/a BEAN, LLC                    )               IS DEMANDED
    GLENN SIMPSON                                 )
                                                  )
    -and-                                         )
                                                  )
    CAMPAIGN FOR ACCOUNTABILITY,                  )
        INC.                                      )
                                                  )
            Defendants.                           )
                                                  )



                          AMENDED COMPLAINT
            Plaintiff, Devin G. Nunes (“Plaintiff”), by counsel, Pursuant to Rule 15(a)(1)(B) of

    the Federal Rules of Civil Procedure (the “Rules”), files the following Amended Complaint

    against defendants, Fusion GPS a/k/a Bean, LLC (“Fusion GPS”), Glenn Simpson

    (“Simpson”) and Campaign for Accountability, Inc. (“CfA”), jointly and severally.

            Plaintiff seeks (a) compensatory damages, statutory damages (threefold the actual

    damages sustained), and punitive damages in the sum of $9,900,000.00, plus (b)

    prejudgment interest on the principal sum awarded by the Jury at the rate of six percent per

    year from January 25, 2018 pursuant to § 8.01-382 of the Virginia Code (1950), as amended

    (the “Code”), (c) a reasonable attorney’s fee, (d) post-judgment interest, and (e) court costs

    – arising out of the Defendants’ acts of racketeering activity in violation of Title 18 U.S.C.

                                                  1
Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 2 of 41 PageID# 108




    § 1962(a-c), conspiracy to violate Title 18 U.S.C. § 1962(a-c), and common law

    conspiracy.

                                      I. INTRODUCTION

           1.      This is a case about active, coordinated and ongoing corruption, fraud and

    obstruction of justice by Fusion GPS, its founder, Glenn Simpson, and the CfA –

    wrongdoing now admitted to in a book written by Simpson and his partner, Peter Fritsch,

    titled, ironically, Crime in Progress: Inside the Steele Dossier and the Fusion GPS

    Investigation of Donald Trump (“Crime in Progress”), and chronicled in the detailed

    December 2019 report of the Office of the Inspector General.

           2.      The Defendants are persons associated in fact (a RICO enterprise) who

    engage in interstate commerce by the use of one or more instrumentalities, including, but

    not limited to, the Internet, computers, telephones, mails and facsimile. In 2018, the

    Defendants received income derived, directly or indirectly, from a pattern of racketeering

    activity and have used or invested such income, directly or indirectly, in the establishment

    or operation of an enterprise engaged in, or the activities of which affect, interstate

    commerce. Through a pattern of racketeering activity, involving acts of wire fraud in

    violation of Title 18 U.S.C. § 1343 and acts of obstruction of justice in violation of Title

    18 U.S.C. §§ 1503(a), 1512(b), 1512(d) and 1513(e), the Defendants have maintained,

    directly or indirectly, an interest in or control of an enterprise which is engaged in, or the

    activities of which affect, interstate commerce. While associated with such enterprise, the

    Defendants conducted or participated, directly or indirectly, in the conduct of such

    enterprise’s affairs through a pattern of racketeering activity. Between 2018 and the




                                                  2
Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 3 of 41 PageID# 109




    present, the Defendants have engaged in activity that is prohibited by Title 18 U.S.C. §§

    1962(a), 1962(b), and 1962(c).

           3.      The Defendants’ ongoing and continuous racketeering activities are part of

    a joint and systematic effort to intimidate, harass, threaten, influence, interfere with,

    impede, and ultimately to derail Plaintiff’s congressional investigation into Russian

    intermeddling in the 2016 U.S. Presidential Election. In furtherance of their conspiracy,

    the Defendants, acting in concert and with others, filed fraudulent and retaliatory “ethics”

    complaints against Plaintiff that were solely designed to harass and intimidate Plaintiff, to

    undermine his Russia investigation, and to protect Simpson, Fusion GPS and others from

    criminal referrals.

           4.      Plaintiff was injured in his business, property and reputation by Defendants’

    racketeering activity and tortious misconduct. Plaintiff brings this action (a) to recover

    money damages for injuries caused by the Defendants’ racketeering activity, (b) for

    disgorgement of the ill-gotten gains and fruits of Defendants’ unlawful enterprise, (c) to

    impose reasonable restrictions on Defendants’ future activities, including Defendants’ use

    of fraudulent opposition research and fraudulent “ethics” complaints to intimidate

    members of Congress and other law enforcement officers in the performance of their

    official duties, (d) to enjoin the Defendants from committing wire fraud and from

    obstructing justice, and (e) to order the dissolution or reorganization of Fusion GPS and

    the CfA so as to prevent or restrain the Defendants from committing fraud, lying to the

    Federal Bureau of Investigation (“FBI”), Department of Justice (“DOJ”), Congress and

    Senate, obstructing justice, and violating Title 18 U.S.C. § 1962 in the future.




                                                 3
Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 4 of 41 PageID# 110




                                          II. PARTIES

           5.      Plaintiff has served in the United States House of Representatives since

    2003. He currently represents California’s 22nd Congressional District, which is located in

    the San Joaquin Valley and includes portions of Tulare and Fresno Counties. He is the

    author of the book, Restoring the Republic, which was published in September

    2010. Plaintiff was born in Tulare, California. His family is of Portuguese descent, having

    emigrated from the Azores to California. From childhood, he worked on a farm that his

    family operated in Tulare County for three generations. He raised cattle as a teenager, used

    his savings to begin a harvesting business, and then bought his own farmland with his

    brother. Plaintiff graduated from Tulare Union High School. After associate’s work at

    College of the Sequoias, he graduated from Cal Poly San Luis Obispo, where he received

    a bachelor’s degree in agricultural business and a master’s degree in agriculture. Plaintiff

    was first elected to public office as one of California’s youngest community college

    trustees in state history at the age of 23. As a member of the College of the Sequoias Board

    from 1996 to 2002, he was an advocate for distance learning and the expansion of programs

    available to high school students. In 2001, he was appointed by President George W. Bush

    to serve as California State Director for the United States Department of Agriculture’s

    Rural Development section. He left this post to run for California’s 21st Congressional

    District and now serves in the 22nd District as a result of redistricting in 2010. Plaintiff

    serves as Ranking Member of the House Permanent Select Committee on Intelligence,

    having been appointed to the Committee in the 112th Congress and serving as Committee

    Chairman during the 114th and 115th Congresses. He was appointed to the Ways and Means

    Committee in the 109th Congress and now serves as a Ranking Member of the Health



                                                 4
Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 5 of 41 PageID# 111




    Subcommittee and a member of the Trade Subcommittee, having served as Chairman of

    the Trade Subcommittee in the 113th Congress. Plaintiff previously served as a member of

    the House Budget Committee during the 111th Congress. In the 108th Congress, his first

    term in the House of Representatives, he served on the House Resources Committee, in

    which he was Chairman of the National Parks Subcommittee, and on the Agriculture and

    Veterans Affairs Committees. Congressman Nunes has traveled extensively to war zones

    to meet with soldiers and examine first-hand their status. As a member of the House

    Permanent Select Committee on Intelligence, he participates in oversight of the U.S.

    national security apparatus, including the intelligence-related activities of seventeen

    agencies, departments, and other elements of the United States Government, most of which

    are located in Virginia within the Alexandria Division. [https://nunes.house.gov/about/;

    https://www.devinnunes.com/bio].

           6.     Created in 1977, the House Permanent Select Committee on Intelligence

    (the “House Intelligence Committee”) oversees the nation’s intelligence agencies,

    including components of the Departments of Defense, Homeland Security, Justice, State,

    Treasury and Energy. Consistent with its mission and jurisdiction, the House Intelligence

    Committee has the authority and power, inter alia, to conduct investigations, issue

    subpoenas for the production of memoranda, documents and records or other material, to

    compel testimony from witnesses, and to make criminals referrals to the DOJ.

    [https://republicans-intelligence.house.gov/uploadedfiles/hpsci_rules_of_procedure_-

    _115th_congress.pdf;     https://www.govinfo.gov/content/pkg/HMAN-115/pdf/HMAN-

    115.pdf].




                                               5
Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 6 of 41 PageID# 112




           7.      On March 1, 2017, the House Intelligence Committee approved a bipartisan

    “Scope of Investigation” to guide the Committee in its investigation into the Russian active

    measures campaign that targeted the 2016 U.S. Presidential Election. Plaintiff confirmed

    that the “Intelligence Committee has been investigating Russia for years and warning about

    the Putin regime’s hostile international actions, its aggression in cyber space, and its

    influential international propaganda campaigns. The committee is determined to continue

    and expand its inquiries into these areas, including Russian activities related to the 2016

    U.S. elections. On a bipartisan basis, we will fully investigate all the evidence we collect

    and follow that evidence wherever it leads.” In its investigation, the Committee publicly

    vowed to conduct interviews, take witness testimony and to “seek access to and custody of

    all relevant information, including law enforcement and counterintelligence information,

    consistent with the Committee’s oversight jurisdiction and investigative responsibilities.”

    [https://intelligence.house.gov/news/documentsingle.aspx?DocumentID=217].

           8.      Defendant, Fusion GPS, is a Delaware limited liability company

    headquartered in Washington, D.C.      Fusion GPS represents that it “provides premium

    research, strategic intelligence, and due diligence services to corporations, law firms, and

    investors worldwide.” [http://www.fusiongps.com/]. In truth, Fusion GPS is a political war

    room for hire that specializes in dirty tricks and smears. As a regular way of doing

    business, it smears the opposition on behalf of its undisclosed clients. As disclosed and

    admitted in Crime in Progress, one of Fusion GPS’s main targets in 2018 and 2019 was

    Plaintiff. Upon information and belief, many of Fusion GPS’ clients, agents and donors

    are located in Virginia. Fusion GPS repeatedly uses the same means and methods: it

    creates fake “dossiers” and supplies the fraudulent documents and information to



                                                 6
Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 7 of 41 PageID# 113




    “friendlies” in the media for dissemination online and via social media. In 2018, for

    instance, Fusion GPS used newspaper conglomerate, The McClatchy Company

    (“McClatchy”), as a media sympathizer to propagate falsehoods and obstruct Plaintiff in

    the performance of his duties as Chairman of the House Intelligence Committee. Another

    technique employed by Fusion GPS is “astro-turfing”. Astroturfing is the attempt to create

    an impression of widespread grassroots support for a position, where no such support

    actually exists. Fusion GPS uses multiple “cut-outs”, online identities and fake pressure

    groups to mislead the public into believing that its positions on behalf of clients are correct

    and/or commonly held.        CfA is regularly used by astroturfers like Fusion GPS.

    [https://fortune.com/2016/08/19/google-transparency-project-2/].

           9.      Defendant, Simpson, is a principal of Fusion GPS. Simpson manages

    Fusion GPS and is its “public” face. In 2016, Simpson conspired with Perkins Coie, LLP

    (“Perkins Coie”), Orbis Business Intelligence, Ltd. (“Orbis”) and Christopher Steele

    (“Steele”) to manufacture a compendium of fake “intelligence” reports that Simpson and

    Steele provided to the FBI and DOJ and then leaked to mainstream media outlets, for the

    express purpose of instigating and promoting the false narrative that the Trump campaign

    or persons associated with it colluded with Russians. [https://gop.com/meet-fusion-gps/].

    At all times material to this case, Simpson and Fusion GPS shared a common goal with the

    Democratic National Committee (“DNC”) and the Hillary Clinton presidential campaign

    of using the false and defamatory statements in the Steele/Fusion “dossier” to poison the

    minds of voters against candidate Donald Trump (“Trump”) and to influence the outcome

    of 2016 Presidential Election.




                                                  7
Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 8 of 41 PageID# 114




           10.    Orbis is a corporation organized and existing under the laws of the United

    Kingdom.     Steele founded Orbis in 2009. [https://orbisbi.com/about-orbis/].      Orbis

    describes itself as a leading corporate intelligence consultancy. [https://orbisbi.com/].

    Steele graduated from Cambridge University in 1986 with a degree in social and political

    science. He worked for British intelligence, MI6, until 2008.

           11.     Perkins Coie is an international law firm [https://www.perkinscoie.com/en/]

    with offices worldwide. Marc E. Elias (“Elias”) is the chair of Perkins Coie’s Political

    Law Group. [https://www.perkinscoie.com/en/professionals/marc-e-elias.html]. Michael

    Sussmann (“Sussmann”) is a partner at Perkins Coie.         Sussmann, a former Justice

    Department official, represents that he is “a nationally-recognized privacy, cybersecurity

    and national security lawyer. He is engaged on some of the most sophisticated, high-stakes

    matters today, such as his representation of the Democratic National Committee and

    Hillary Clinton’s presidential campaign in their responses to Russian hacking in the 2016

    presidential election.”    Sussman is often quoted in the Wall Street Journal.

    [https://www.perkinscoie.com/en/professionals/michael-sussmann.html].

           12.    Defendant, CfA, is a dark money, partisan, left-wing 501(c)(3) nonprofit

    organization that uses the Freedom of Information Act, litigation, and “aggressive

    communications” to target government officials, principally conservative Republicans.

    [https://campaignforaccountability.org/about/].1 CfA claims (ironically) that it “works on




           1
                   CfA was founded in 2015 by alumni of prominent left-wing opposition
    research super PAC, American Bridge 21st Century, and Citizens for Responsibility and
    Ethics in Washington (CREW), an “advocacy group” that uses “aggressive legal action,
    in-depth research, and bold communications” to target Republican officeholders. [See
    https://www.citizensforethics.org/who-we-are/]. Daniel E. Stevens (“Stevens”), CfA’s
    executive director, lives in Springfield, Virginia.
                                                8
Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 9 of 41 PageID# 115




    behalf of the public interest to expose corruption, negligence and unethical behavior

    wherever it may occur.” As part of its business, CfA operates a website, a Twitter account

    (@Accountable_Org), a Facebook account, a YouTube channel, and publishes articles via

    Medium. In 2017, CfA received a total of $994,811 in contributions and grants. In 2018,

    CfA received a total of $1,270,480 in contributions and grants. CfA does not disclose the

    identities of its donors. However, it has been widely reported that one of CfA’s major

    donors    is   the   left-wing   funding/incubation   non-profit,   New   Venture   Fund.

    [https://www.influencewatch.org/non-profit/new-venture-fund/;

    http://www.siliconbeat.com/2016/07/19/googles-secretive-and-deep-pocketed-foe-

    heavily-funded-by-gates-hewlett-foundations/]. All three (3) CFA “ethics” complaints

    against Plaintiff at issue in this action are directly connected to Fusion GPS. The first

    complaint was for allegedly leaking information on Fusion GPS; the second was for

    allegedly leaking text messages from and to Adam Waldman, a lawyer for Christopher

    Steele; and the third complaint was about wineries that Fusion GPS just happened to be

    researching and spreading lies about.

             13.    On August 1, 2019, the Daily Caller revealed that CfA engaged Fusion GPS

    as an “independent contractor” in 2018 and paid Fusion GPS nearly $140,000 for

    unspecified “research”. [https://dailycaller.com/2019/08/01/liberal-watchdog-fusion-gps-

    trump/ (“Liberal Watchdog Group That Targeted Google And Devin Nunes Paid

    Fusion GPS $140K For Research”)].

             14.    On November 25, 2019, Simpson released Crime in Progress. He did so to

    get out front of the information about Fusion GPS’ clandestine operations that he knew




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Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 10 of 41 PageID# 116




    would be revealed in discovery. In Crime in Progress, Simpson, inter alia, admitted the

    following facts:

           ●       “Fusion ordinarily didn’t work on congressional races, but as the election
                   drew closer, the firm began to mull a few ways it could have an impact.
                   Later, it would decide to design and launch a more systematic cyber-
                   monitoring campaign, but first it went small, focusing on a single
                   congressional district in California’s heavily agricultural Central Valley.
                   That solidly red seat happened to have been occupied since 2003 by one
                   Devin Nunes”. [pp. 292-294].

           ●       “Fusion had no illusions about being able to topple Nunes, but the notion of
                   digging into his record made many at the firm salivate. His bumbling
                   investigation of Trump-Russia was amusing, in some respects, and Fritsch
                   had taken up Senator Lindsey Graham’s reference to him as Inspector
                   Clouseau, after the incompetent police inspector in the Pink Panther movies.
                   But there were far more serious issues at stake here, too: In his fiercely
                   partisan stewardship of the Russia investigation, Nunes had also
                   undermined the intelligence and law enforcement agencies and inflicted
                   damage on dedicated crime fighters like Bruce Ohr. And he was a threat to
                   Mueller’s ability to do his job. When Fritsch asked Fusion staff for
                   volunteers to look into Nunes, every hand shot up”. [294].

           ●       “While he described himself as a farmer on the midterm ballot, Nunes
                   hadn’t been one for a decade. Three years after he was first elected, he had
                   quietly sold off his shares of the family farm and invested the proceeds in a
                   Napa Valley winery nearly two hundred miles from his district”. [295].2




           2
                    For every Fusion GPS “research” project, there is a corresponding “ethics”
    complaint levelled against Plaintff. On June 8, 2018, American Democracy Legal Fund
    (“ADLF”) filed a complaint with the Office of Congressional Ethics (“OCE”) over
    McClatchy’s “yacht” story. On July 11, 2018, CfA filed a complaint with OCE relating
    to his investment in the Napa Valley winery. On July 11, 2018, political operative Liz
    Mair (“Mair”) and Swamp Accountability Project (“Swamp”) filed a complaint with OCE
    over the “yacht” story. On July 23, 2018, Campaign Legal Center (“CLC”) filed a
    complaint with the Federal Election Commission (“FEC”) over Plaintiff’s private jet travel.
    And, on August 9, 2018, Paul Buxman, Daniel O’Connell and Hope Nisly sued Plaintiff
    over his ballot designation as a farmer.

                                                10
Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 11 of 41 PageID# 117




           ●         “Some of his spending appeared to violate campaign finance rules. Fusion
                     discovered ‘fundraising’ trips to Las Vegas and Boston during which Nunes
                     spent more than $130,000 on high-end hotels, meals, and NBA tickets, at
                     the expense of his campaign committees. The Boston fundraisers appeared
                     to have been outings to see his favorite NBA team, the Boston Celtics.
                     (Nunes idolized Larry Bird). In March 2018, Fusion found, Nunes charged
                     more than $11,000 to his campaign for a private plane charter, despite
                     House ethics rules that generally forbid noncommercial travel”. [295].

           ●         “Nunes also spent tens of thousands of dollars in PAC money on wine from
                     the wineries in which he held stakes”. [295].

           ●         “In the end, Fusion found an obscure bit of litigation that lit up the race. In
                     May, weeks after that discovery, Nunes’s ownership stake in the Napa
                     winery Alpha Omega became national news when The Fresno Bee reported
                     on a lawsuit filed in California state court by a young woman who had
                     worked serving wine at a 2015 tasting event abord the winery’s sixty-two-
                     foot yacht” [295-296].

           ●         “Nunes spent tens of thousands of dollars on television, radio, and Facebook
                     advertisements attacking the Bee for its coverage of the lawsuit, drawing
                     more attention to the case. In the end, Nunes would win re-election in
                     November with 52.7 percent of the vote, his lowest margin of victory ever”.
                     [296].

           15.       On December 9, 2019, the Office of the Inspector General, United States

    Department of Justice, released its “Review of Four FISA Applications and Other

    Aspects of the FBI’s Crossfire Hurricane Investigation” (the “IG Report”).

    [https://www.justice.gov/storage/120919-examination.pdf].3 The IG Report confirmed

    that the Steele/Fusion “dossier”, bought and paid for by Fusion GPS, was a complete

    fabrication. The IG Report confirms that the putative author4 of the “dossier”, Steele, told



           3
                     Two witnesses, Simpson and Jonathan Winer, refused to be interviewed for
    the IG Report.
           4
                   Fusion GPS tasked Nellie Ohr to research then-candidate Trump and his
    Russian business associates, which involved searching Russian and other foreign language
    websites and databases and providing periodic reports detailing her findings. Nellie
    stopped working for Fusion GPS on September 24, 2016. Upon information and belief,
    Nellie and/or Simpson authored intelligence reports that Steele included in the “dossier”.
                                                   11
Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 12 of 41 PageID# 118




    FBI agents at a meeting in Rome that his reports were raw intelligence, not vetted

    information, and that a person passing some of the most important information to him was

    a “boaster” and “egotist” who might well “engage in some embellishment.” But that

    alarming description never made it to DOJ, where officials were using some of Steele’s

    reports to support a secret court order authorizing surveillance on a former Trump

    campaign aide, Carter Page (“Page”). The IG Report further reveals that the Central

    Intelligence Agency (“CIA”) dismissed the Steele “dossier” as “internet rumor.” And

    when the FBI eventually interviewed the person described as Steele’s “primary subsource,”

    that subsource claimed that Steele’s reports had gone far beyond what he had been told.

    The source, who is not identified in the IG Report, “raised doubts about the reliability of

    Mr. Steele’s descriptions of information in his election reports,” saying Mr. Steele had

    “misstated or exaggerated” what he had been told. Though Steele represented that Donald

    Trump’s supposed 2013 encounter with Russian prostitutes had been “confirmed” by a

    hotel staff member, the IG Report revealed that source actually told the FBI that the story

    of the purported episode at Moscow’s Ritz Carlton was just “rumor and speculation.”

    Similarly, the source had passed on information about a visit to Moscow during the

    presidential campaign by Page. But the source told FBI agents that he had given Steele no

    evidence to support one striking claim in the “dossier”: that Page had been offered a

    lucrative brokerage fee in the sale of part of the Russian oil giant Rosneft. Another of

    Steele’s claims that drew wide media coverage was that candidate Trump’s personal

    lawyer, Michael D. Cohen (“Cohen”), had traveled to Prague during the 2016 campaign to

    meet with Russian agents and discuss the hacking of the Democrats. The IG Report flatly

    concluded that the claim was “not true.”



                                                12
Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 13 of 41 PageID# 119




            16.     Steele considered Donald Trump to be his “main opponent”, as did Fusion

    GPS and its clients, Perkins Coie, the DNC and the Clinton campaign. Steele was

    “desperate” that Donald Trump not get elected, as was Fusion GPS, Perkins Coie, the DNC

    and Hillary Clinton. The outright fabrications in the Steele “dossier” are the product of a

    joint collaborative effort between Steele and Fusion GPS. Steele and Fusion GPS, acting

    in concert, lied to the FBI and spread lurid and fake anecdotes in order to obstruct the FBI’s

    Crossfire Hurricane investigation. Fusion GPS and Steele wanted to make it appear to the

    FBI that there was a “crime in progress”, when, it truth, it was all a coordinated fraud. The

    fabrication of raw intelligence and the misrepresentation and concealment of information

    provided by sources is an ordinary part of Fusion GPS’ criminal operations, and one that

    threatens to persist in the future.

                               III. JURISDICTION AND VENUE

            17.     The United States District Court for the Eastern District of Virginia has

    subject matter jurisdiction over this action pursuant to Title 28 U.S.C. § 1331 (Federal

    Question), § 1332 (Diversity) and § 1367 (Supplemental Jurisdiction). The parties are

    citizens of different States and the amount in controversy exceeds the sum or value of

    $75,000, exclusive of interest, costs and fees.

            18.     Each of the Defendants is subject to personal jurisdiction in Virginia

    pursuant to Virginia’s long-arm statute, § 8.01-328.1(A)(1), (A)(3) and (A)(4) of the Code,

    as well as the Due Process Clause of the United States Constitution. The Defendants are

    subject to both general and specific personal jurisdiction. They engage in continuous and

    systematic business in Virginia. They have minimum contacts with Virginia such that the

    exercise of personal jurisdiction over them comports with traditional notions of fair play



                                                 13
Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 14 of 41 PageID# 120




    and substantial justice and is consistent with the Due Process Clause of the United States

    Constitution.

           19.      Venue is proper in the Alexandria Division of the United States District

    Court for the Eastern District of Virginia pursuant to Title 18 U.S.C. § 1965(a) and Title

    28 U.S.C. § 1391(b). The Defendants reside, are found, have agents, and transact affairs

    in Virginia. The vast majority of Trump campaign foreign policy meetings between June

    2016 and September 2016 occurred in Virginia in Arlington County and Fairfax County.

    Many of the key witnesses to the Defendants’ corrupt business practices – including former

    FBI director, James Comey (“Comey”), Andrew McCabe (“McCabe”), Bruce Ohr, and

    Fusion GPS contractor, Nellie Ohr – reside in Virginia.

                             IV. STATEMENT OF THE FACTS

           20.      On April 12, 2015, Hillary Rodham Clinton declared her candidacy for

    President of the United States. She officially received the nomination of the Democratic

    Party on July 26, 2016 at the Democratic National Convention.

           21.      During the 2016 presidential campaign, the Clinton campaign and the DNC

    paid Perkins Coie a total of $12.4 million. Perkins Coie did not provide $12.4 million in

    legal services to the Clinton campaign and the DNC during the 2016 presidential election

    cycle. Rather, Perkins Coie, with the knowledge and authority of the Clinton campaign

    and the DNC, acted as a conduit to funnel campaign funds ($1 Million Dollars) to Fusion

    GPS in order to create a false narrative about opposition Republican presidential candidate

    Donald Trump.




                                                14
Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 15 of 41 PageID# 121




    A.     The Fraudulent “Steele Dossier”

           22.     In April 2016, Elias on behalf of Perkins Coie engaged Fusion GPS on

    behalf of the Clinton campaign and the DNC to prepare a salacious “dossier” that could be

    used to smear Trump. The Clinton campaign and the DNC, through Perkins Coie, funded

    Fusion GPS’s opposition research through the end of October 2016, days before the

    Presidential   Election.   [https://www.nytimes.com/2017/10/24/us/politics/clinton-dnc-

    russia-dossier.html (“Clinton Campaign and Democratic Party Helped Pay for Russia

    Trump      Dossier”);   https://www.washingtonpost.com/world/national-security/clinton-

    campaign-dnc-paid-for-research-that-led-to-russia-dossier/2017/10/24/226fabf0-b8e4-

    11e7-a908-a3470754bbb9_story.html].5

           23.     Perkins Coie chose Fusion GPS to smear opposition candidate Trump

    because of Fusion GPS’ well-documented history of defamation, dirty tricks and its pattern

    and practice of using fabricated “dossiers” and the media to intimidate and smear targets.

    [E.g. https://www.wsj.com/articles/SB10001424052702304203604577397031654422966




           5
                     The revelation that the Clinton campaign and the DNC had paid Fusion GPS
    emerged from an October 24, 2017 letter filed in court by Perkins Coie. In pertinent part,
    the letter states:

           “Fusion GPS approached Perkins Coie in early March of 2016 and …
           expressed interest in an engagement with the Firm in connection with the 2016
           presidential election to continue research regarding then-Presidential candidate
           Donald Trump, research that Fusion GPS had conducted for one or more other
           clients during the Republican primary contest … To assist in its representation of
           the DNC and Hillary for America, Perkins Coie engaged Fusion GPS”.

    [https://www.washingtonpost.com/world/national-security/clinton-campaign-dnc-paid-
    for-research-that-led-to-russia-dossier/2017/10/24/226fabf0-b8e4-11e7-a908-
    a3470754bbb9_story.html;
    https://assets.documentcloud.org/documents/4116755/PerkinsCoie-Fusion-
    PrivelegeLetter-102417.pdf].
                                               15
Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 16 of 41 PageID# 122




    (“The President’s Hit List”); https://www.scribd.com/document/354721041/Testimony-

    of-Thor-Halvorssen-to-the-Senate-Committee-on-the-Judiciary-7-26-2017 (“Thank you

    for the opportunity to provide testimony about Fusion GPS, its role in a multi-billion-dollar

    corruption case benefitting the Venezuelan regime, and how they violate [FARA]”);

    http://infodio.com/20170114/fusion/gps/derwick/associates/venezuela/corruption

    (“Fusion GPS link to Derwick Associates: Venezuela's most corrupt criminal gang”);

    https://www.theatlantic.com/politics/archive/2017/07/bill-browders-testimony-to-the-

    senate-judiciary-committee/534864/ (“Veselnitskaya, through Baker Hostetler, hired

    Glenn Simpson of the firm Fusion GPS to conduct a smear campaign against me and Sergei

    Magnitsky in advance of congressional hearings on the Global Magnitsky Act. He

    contacted a number of major newspapers and other publications to spread false information

    that Sergei Magnitsky was not murdered, was not a whistle-blower, and was instead a

    criminal. They also spread false information that my presentations to lawmakers around

    the world were untrue.”); https://thefederalist.com/2017/10/10/u-s-media-help-russia-

    destabilize-united-states/ (“Does U.S. Media Help Russia Destabilize The United

    States?”)].

           24.     Fusion GPS hired Orbis to create the “dossier” to smear Trump and help in

    disseminating the scandalous accusations to the media.

           25.     At the time Fusion GPS hired Orbis, Steele acted as a paid informant for the

    FBI.

           26.     Steele, acting in concert and combination with Fusion GPS, created a

    compendium of “Company “Intelligence Report[s]” that Simpson and Steele ultimately




                                                 16
Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 17 of 41 PageID# 123




    delivered to the FBI for the purpose of influencing the FBI’s Crossfire Hurrican

    investigation.

           27.       The various “Company Intelligence Report[s]” that are part of the “dossier”

    manufactured by Steele and Fusion GPS are complete fabrications.

           28.       Fusion GPS paid Orbis approximately $170,000 for the fraudulent Steele

    “dossier”.

    B.     Fusion GPS, Simpson and Steele Leak The Fraudulent “Steele Dossier”

           29.       The Republican National Committee (“RNC”) held its presidential

    nominating convention in Cleveland, Ohio, from July 18-21, 2016.

           30.       Trump won the Republican nomination for President of the United States.

           31.       On July 31, 2016, the FBI officially launched operation “Crossfire

    Hurricane”. [https://www.nytimes.com/2018/05/16/us/politics/crossfire-hurricane-trump-

    russia-fbi-mueller-investigation.html].

           32.       Between July 31, 2016 and September 23, 2016, Fusion GPS and Simpson,

    acting in concert with Steele, leaked the Steele “dossier” to the FBI, DOJ, State

    Department, and multiple “journalists” who were friendly to presidential candidate,

    Clinton. By September 23, 2016, the so-called “dossier” was in the hands of at least nine

    (9) media outlets, including the Wall Street Journal, Washington Post, the New Yorker,

    McClatchy, and Yahoo News. [https://www.washingtonpost.com/politics/hero-or-hired-

    gun-how-a-british-former-spy-became-a-flash-point-in-the-russia-

    investigation/2018/02/06/94ea5158-0795-11e8-8777-2a059f168dd2_story.html].

           33.       Steele was “desperate” to see Donald Trump defeated in the 2016

    Presidential election. [https://thehill.com/opinion/white-house/425739-fisa-shocker-doj-



                                                 17
Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 18 of 41 PageID# 124




    official-warned-steele-dossier-was-connected-to-clinton (Associate Deputy Attorney

    General Bruce Ohr (“Bruce Ohr”) told congressional investigators that “Christopher Steele

    was, as I said, desperate that Trump not be elected.”)]. Steele’s personal bias and lack of

    veracity was well-known to Fusion GPS and Simpson.             Fusion GPS and Simpson

    commissioned the Steele “dossier” and leveraged Steele’s extreme political bias and

    motive to lie. On October 11, 2016, Steele met with Deputy Assistant Secretary of State

    Kathleen Kavalec (“Kavalec”). Steele admitted to Kavalec that his “research” was political

    and that he was facing an Election Day deadline to make it public. Steele told Kavalec that

    his “client” (Fusion GPS) was “keen to see this information come to light prior to

    November 8,” the date of the 2016 presidential election. [https://thehill.com/opinion/white-

    house/442592-steeles-stunning-pre-fisa-confession-informant-needed-to-air-trump-dirt].

    Notwithstanding is contemporaneous admissions of extreme bias against then-candidate

    Trump, Steele lied to the OIG and stated that any claim of bias was “ridiculous”.

           34.     On October 21, 2016, the FBI used part of the Steele/Fusion “dossier” –

    Company Intelligence Report (CIR) 94 – to seek a warrant to spy on Carter W. Page

    (“Page”) pursuant to the Foreign Intelligence Surveillance Act of 1978 (“FISA”). The

    FISA application, signed by Comey, falsely represented to the FISA Court that the

    information in the application was “VERIFIED”:




                                                18
Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 19 of 41 PageID# 125




           35.     The Steele/Fusion “dossier” accusations of collusion between the Trump

    campaign or persons associated with it and Russians have never been verified. They cannot

    be verified because they are false. They were manufactured by Steele and Fusion GPS out

    of whole cloth. The creation of unverifiable “intelligence” is a hallmark of Fusion GPS’

    ordinary way of doing business.

           36.     The FISA application discloses that Steele was approached by Fusion GPS

    through Simpson6 (referred to in the application as an “identified US person”), and that

    Perkins Coie (referred to in the application as a “US-based law firm”) had hired Fusion

    GPS “to conduct research regarding Candidate #1s [Trump] ties to Russia.” The FISA



           6
                    Simpson formerly was an investigative reporter for the Wall Street Journal.
    He has a long history of working with the FBI and reporting on corruption and influence
    in and around Russia. Simpson orchestrated Fusion GPS’ media outreach program and
    dissemination of the Steele/Fusion “dossier” to the Government agencies and the media.
    [https://dailycaller.com/2019/03/04/glenn-simpson-jonathan-winer-dossier/;
    https://dailycaller.com/2017/07/13/details-emerge-about-trump-dossier-firms-media-
    outreach-campaign/].

                                                19
Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 20 of 41 PageID# 126




    application confirms that Steele and Fusion GPS “have a long-standing business

    relationship”. The FISA application does not identify Steele’s “sub-source(s)”.7

           37.     On October 31, 2016, Mother Jones published an article entitled, “A

    Veteran Spy Has Given the FBI Information Alleging a Russian Operation to

    Cultivate Donald Trump”. [https://www.motherjones.com/politics/2016/10/veteran-spy-

    gave-fbi-info-alleging-russian-operation-cultivate-donald-trump/].8     The source of the

    Mother Jones article was Steele. Steele spoke with Mother Jones’ reporter, David Corn,

    at Simpson’s behest.9 Mother Jones reported that Steele “now works” for Fusion GPS,



           7
                    Simpson told Bruce Ohr that Steele’s main source wasn’t in Moscow but,
    rather, was a “former Russian intelligence figure in Washington”. Bruce Ohr’s notes quote
    Simpson as follows: “[m]uch of the collection about the Trump campaign ties to Russia
    comes from a former Russian intelligence officer (? not entirely clear) who lives in the
    US”.         [https://thehill.com/hilltv/rising/417535-questions-grow-about-fbi-vetting-of-
    christopher-steeles-russia-expertise].

           8
                    On October 10, 2016, Simpson told Bruce Ohr that he (Simpson) asked
    Steele to talk to Mother Jones. [https://thehill.com/hilltv/rising/401185-the-handwritten-
    notes-exposing-what-fusion-gps-told-doj-about-trump (“‘Glen [sic] asked Chris to speak
    to the Mother Jones reporter. It was Glen’s Hail Mary attempt [to influence the election],’”
    Ohr wrote.”)].
           9
                    In October 2016, the FBI “suspended” its relationship with Steele because
    of Steele’s flagrant breaches of FBI trust and protocol. According to the FISA application:




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Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 21 of 41 PageID# 127




    which Mother Jones described as “a US firm that gathers information on Russia for

    corporate clients”. Mother Jones revealed that Steele “was assigned the task of researching

    Trump’s dealings in Russia and elsewhere, according to the former spy [Steele] and his

    associates [Simpson] in this American firm.” Mother Jones quoted a “fiery letter” from

    Democratic Senator Harry Reid (“Reid”) to Comey that disclosed the following:

           “In my communications with you and other top officials in the national security
           community, it has become clear that you possess explosive information about close
           ties and coordination between Donald Trump, his top advisors, and the Russian
           government … The public has a right to know this information.”

    Reid was briefed on the “Steele Dossier” sometime prior to the end of August 2016.

           38.     In November 2016, Steele met in Great Britain with David J. Kramer

    (“Kramer”), director of the McCain Institute for International Leadership, a private

    foundation associated with the late-U.S. Senator John McCain (“McCain”).

    [https://www.mccaininstitute.org/staff/david-j-kramer/]. The purpose of the meeting was

    to brief Kramer on behalf of Senator McCain, who at the time was an outspoken critic of

    the Trump candidacy. Steele and/or Simpson gave Kramer a copy of the first sixteen

    reports in the Steele/Fusion “dossier” for redelivery to Senator McCain. Kramer, a former

    State Department official and a Trump detractor, leaked (republished) the DNC-financed

    Steele/Fusion “dossier” to, inter alia, BuzzFeed News.

           39.     Kramer met with BuzzFeed’s Ken Bensinger (“Bensinger”) during the 2016

    Christmastime holidays. Bensinger took cellphone photos of the entire Steele/Fusion

    “dossier”.   [https://www.washingtontimes.com/news/2019/mar/14/david-kramer-spread-

    steele-dossier-around-washingt/; see also https://www.mcclatchydc.com/news/nation-

    world/national/article160622854.html (“At least a dozen national media organizations had




                                                21
Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 22 of 41 PageID# 128




    a copy of the Steele dossier before it became public but hadn’t published details because

    much of the information had not been corroborated”)].10

           40.     On January 10, 2017, CNN reported that “intelligence chiefs” had briefed

    President-Elect Trump and President Obama on the accusations contained in the “Steele

    Dossier”.      CNN     described    the   Steele/Fusion   “dossier”    as    “Classified”.

    [https://www.cnn.com/2017/01/10/politics/donald-trump-intelligence-report-

    russia/index.html].

           41.     On January 10, 2017, after publication of the CNN report, Bensinger

    published the Steele/Fusion “dossier”. The “full document” linked to Bensinger’s story

    was the cell phone copy of the Steele/Fusion Dossier” that Bensinger obtained from

    Kramer.        [https://www.buzzfeednews.com/article/kenbensinger/these-reports-allege-

    trump-has-deep-ties-to-russia;   https://www.nytimes.com/2017/01/11/us/politics/donald-

    trump-russia-intelligence.html?module=inline].11

           42.     On January 11, 2017, the New York Times revealed that Fusion GPS was

    behind the “dossier”. [https://www.nytimes.com/2017/01/11/us/politics/donald-trump-

    russia-intelligence.html?smid=tw-nytimes&smtyp=cur&_r=0]. The Wall Street Journal




           10
                   McCain gave Comey a copy of the “Trump dossier” on January 6, 2017.
    [https://www.mcclatchydc.com/news/nation-world/national/article160622854.html].
    Comey briefed President-elect Trump on the “dossier” that same day. Briefing the
    President-elect was the “brainchild” of Director of National Intelligence James Clapper
    (“Clapper”), who also had the “dossier”. [https://thefederalist.com/2018/04/20/comeys-
    memos-indicate-dossier-briefing-of-trump-was-a-setup/].
           11
                     On January 10, 2017, Ben Smith (“Smith”), editor-in-chief of BuzzFeed,
    advised the staff of BuzzFeed News that there were “real solid reasons to distrust” the
    veracity of the allegations contained in the “Trump dossier”. Smith tweeted the note he
    sent to his staff. [https://twitter.com/BuzzFeedBen/status/818978955965464580/photo/1].

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Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 23 of 41 PageID# 129




    revealed that Steele was the author. [https://www.wsj.com/articles/christopher-steele-ex-

    british-intelligence-officer-said-to-have-prepared-dossier-on-trump-1484162553].

    C.      The Congressional Investigation

            43.     Plaintiff was one of the leading and most vocal members of Congress to

    advocate for a thorough investigation of the role that Fusion GPS and the Steele/Fusion

    “dossier” played in advancing the “Russia collusion” narrative. Fusion GPS and Simpson

    harbored spite and ill-will towards Plaintiff as a result. Using the same corrupt practices

    employed on the FBI during operation Crossfire Hurricane, Fusion GPS and Simpson

    decided to smear Plaintiff as a result of his tenacious efforts in 2017 to expose Fusion GPS’

    nefarious activities.

            44.     On August 24, 2017, in his capacity as Chairman of the House Intelligence

    Committee, Plaintiff authorized subpoenas to both DOJ and FBI for all documents they

    had relating to their relationship with Steele and/or the Steele/Fusion “dossier”.

    [http://i2.cdn.turner.com/cnn/2017/images/09/06/chm.ltr.to.ag.sessions.re.subpoena.comp

    liance--1.september.17.pdf]. All subpoenas authorized by Plaintiff were issued pursuant

    to a constitutionally authorized investigation by a Committee of the U.S. House of

    Representatives with jurisdiction over intelligence and intelligence-related activities—

    activities designed to protect the United States and its citizens from potential cyber-attacks

    now and in the future.

            45.     In a September 1, 2017 letter to Attorney General, Jeff Sessions

    (“Sessions”), Plaintiff stated as follows:




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Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 24 of 41 PageID# 130




    Plaintiff’s letter pointed out the lack of cooperation he had received in 2017 in obtaining

    responses to Russia-investigation related requests:




           46.     On October 4, 2017, Plaintiff, in his capacity as Chairman of the House

    Intelligence Committee, authorized subpoenas for documents and to compel testimony




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Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 25 of 41 PageID# 131




    from Simpson and his Fusion GPS partners Peter Fritsch12 and Thomas Catan.13

    https://www.cnn.com/2017/10/10/politics/fusion-gps-subpoenas-devin-nunes/index.html;

    https://www.cnn.com/2017/10/18/politics/fusion-gps-partners-plead-fifth-before-house-

    intel/index.html (noting that Fusion GPS’ attorney revealed that Fritsch and Catan invoked

    their Fifth Amendment rights not to answer questions before the Committee)].

           47.     Plaintiff also issued a subpoena to Fusion GPS’ bank, TD Bank, for the

    company’s financial records. Fusion GPS sought a temporary restraining order and

    preliminary injunction to block release of the bank records. Fusion GPS failed in its effort

    to prevent disclosure of the bank records. Bean, LLC v. John Doe Bank, 291 F.Supp.3d 34

    (D. D.C. 2018). The bank records produced by Fusion GPS revealed that the Clinton

    campaign, the DNC and Perkins Coie paid for Fusion GPS’ anti-Trump research.

    [https://thehill.com/homenews/house/354796-nunes-signs-off-on-new-subpoenas-in-

    russia-investigation; https://www.washingtonexaminer.com/byron-york-in-dossier-probe-

    fusion-gps-asks-court-to-stop-house-from-seeing-bank-records].



           12
                    Fritsch is a co-founder of Fusion GPS and partner of Simpson’s. Fritsch
    was responsible for running opposition research for Fusion GPS on Theranos.
    [https://www.washingtonpost.com/investigations/journalism-for-rent-inside-the-
    secretive-firm-behind-the-trump-dossier/2017/12/11/8d5428d4-bd89-11e7-af84-
    d3e2ee4b2af1_story.html (“Fusion GPS bills itself as a corporate research firm, but in
    many ways it operates with the secrecy of a spy agency … Fusion worked to blunt
    aggressive reporting on the medical-device company Theranos, which was later found to
    have problems with its novel blood-testing technology. It was also hired to ward off
    scrutiny of the nutritional supplement company Herbalife, which ultimately paid
    $200 million to distributors to settle claims by regulators … Fusion’s work on the dossier
    went beyond ordinary opposition research, the kind that might explore a candidate’s past
    legislative history or embarrassing gaffes — known in the industry as “votes and quotes.”
    Instead, it paid a former British spy to compile intelligence from unnamed Russian
    sources.”)].

           13
                   Catan is the third partner of Fusion GPS. Like Simpson and Fritsch, he used
    to work for the Wall Street Journal. [https://www.wsj.com/news/author/thomas-catan].
                                                25
Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 26 of 41 PageID# 132




            48.     On August 22, 2017, Simpson testified before the Senate Intelligence

    Committee. Simpson claimed he originally hired Steele to research Trump’s business

    activities in Russia:

            “I would say that’s broadly why I asked him to see what he could find out about
            Donald Trump's business activities in Russia … I’ll just stress that we weren’t
            looking for – at least it wasn’t at the forefront of my mind there was going to be
            anything involving the Russian government per se, at least not that I recall.

    https://www.feinstein.senate.gov/public/_cache/files/3/9/3974a291-ddbe-4525-9ed1-

    22bab43c05ae/934A3562824CACA7BB4D915E97709D2F.simpson-transcript-

    redacted.pdf (pp. 78-79)].14

            49.     On November 14, 2017, Simpson testified behind closed doors before the

    House Intelligence Committee. He was accompanied by three (3) lawyers.

            50.     On January 17, 2018, the House Intelligence Committee published an

    unclassified, redacted transcript of Simpson’s testimony in executive session.

    [https://docs.house.gov/meetings/IG/IG00/20180118/106796/HMTG-115-IG00-

    20180118-SD002.pdf].

            51.     It was immediately obvious to Representatives and reporters alike that

    Simpson had lied in his testimony to the House Intelligence Committee. [See, e.g.,



            14
                   The IG Report concluded that Simpson’s reasons for hiring Steele included
    far more than simply research on Trump’s “business activities” in Russia:

            “In May 2016, Simpson met Steele at a European airport and inquired whether
            Steele could assist in determining Russia’s actions related to the 2016 U.S.
            elections, whether Russia was trying to achieve a particular election outcome,
            whether candidate Donald Trump had any personal and business ties in Russia, and
            whether there were any ties between the Russian government and Trump and his
            campaign.”

    [https://www.justice.gov/storage/120919-examination.pdf (p. 93)].

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Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 27 of 41 PageID# 133




    https://www.powerlineblog.com/archives/2018/01/simpson-tried-to-deceive-congress-on-

    the-fusion-gps-obama-doj-connection.php     (“SIMPSON       TRIED      TO    DECEIVE

    CONGRESS        ON     THE     FUSION      GPS/OBAMA         DOJ      CONNECTION”);

    https://dailycaller.com/2018/09/17/bruce-ohr-testimony-fusion-gps-glenn-simpson/

    (“DOJ official Bruce Ohr testified that he met with Fusion GPS founder Glenn Simpson in

    August 2016. That conflicts with what Simpson told a congressional committee in

    November. He [Simpson] said he did not meet Ohr until after the 2016 election …

    Department of Justice (DOJ) official Bruce Ohr told Congress in August that he met before

    the 2016 election with Glenn Simpson, a direct contradiction to what the Fusion GPS

    founder said in a congressional deposition in 2017”); https://www.tabletmag.com/jewish-

    news-and-politics/253004/fusion-gps-donald-trump (“Did Glenn Simpson Lie to

    Congress?”);       https://www.washingtontimes.com/news/2018/may/31/glenn-simpson-

    accused-lying-congress-sen-charles-g/ (“Why key architect of the anti-Trump dossier is

    now accused of lying to Congress”)].

           52.     In fact, Simpson lied to both the House of Representatives and the United

    States Senate about his role and involvement in advancing the anti-Trump smear campaign

    before and after the 2016 presidential election. The following testimony by Simpson to

    the House Intelligence Committee was knowingly and willfully false:




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Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 28 of 41 PageID# 134




    Simpson also knowingly and willfully lied to the Senate Judiciary Committee. His

    statement to the Senate Judiciary Committee on August 22, 2017 that he “had no client

    after the [2016 presidential] election” was an “outright lie”. As Senator Grassley observed:

           “For example, when the Committee staff interviewed Glenn Simpson in August of
           2017, Majority staff asked him: ‘So you didn’t do any work on the Trump matter
           after the election date, that was the end of your work?’ Mr. Simpson answered: ‘I
           had no client after the election.’ As we now know, that was extremely misleading,
           if not an outright lie.”

    [https://thefederalist.com/2018/12/04/grassley-fusion-gps-founder-ceo-glenn-simpson-

    lied-senate-testimony/;    https://www.breitbart.com/politics/2018/05/29/grassley-fusion-

    gps-founder-gave-extremely-misleading-testimony-about-trump-work/].

           53.     Simpson knew that there was a substantial likelihood that he could be

    indicted for making false statements to the FBI and DOJ, lying to Congress and the Senate,

    and for obstructing justice. Simpson knew that it was a Federal crime to “corruptly”




                                                28
Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 29 of 41 PageID# 135




    influence, obstruct, or impede, or endeavor to influence, obstruct or impede the House

    Intelligence Committee in its Russia investigation.15

           54.     Fearing a criminal referral for Simpson’s false statements to the FBI and

    DOJ, for lying to Congress and the Senate, and for obstructing the House Intelligence

    Committee in its Russia investigation, the Defendants directly and aggressively retaliated

    against Plaintiff, employing the same or similar pattern, practices, means and methods as

    Fusion GPS and Simpson had employed multiple times in the past to smear the opposition.

    [See, e.g., Halvorssen v. Simpson, Case 2:18-cv-02683-ENV-RLM (E.D.N.Y.) (Document

    1) (Simpson creates a phony “dossier” that he passes on to “friendly journalists” and/or

    associates who use the negative information to smear the target); see id Crime In Progress,

    supra; and IG Report, supra].

    D.     The Retaliatory Ethics Complaints

           55.     On January 25, 2018, as news of Simpson’s perjury was being widely

    reported, CfA, acting in concert with Fusion GPS, faxed an “ethics” complaint against

    Plaintiff to the Office of Congressional Ethics (“OCE”).16

           56.     The purpose of Defendants’ first “ethics” complaint was to threaten and

    intimidate Plaintiff, impede his communications with “conservative” members of the press,

    chill reporting of Fusion GPS and Simpson’s wrongdoing, interfere with Plaintiff’s




           15
                   As used in Title 18 U.S.C. § 1505, the term “corruptly” means acting with
    an improper purpose, personally or by influencing another, including making a false or
    misleading statement, or withholding, concealing, altering, or destroying a document or
    other information. 18 U.S.C. § 1515(b).
           16
                  In addition to CfA, Fusion GPS and Simpson ran numerous other political
    operations against Plaintiff using McClatchy, Mair, Swamp, ADLF and others. All
    coordinated operations were designed to impede Plaintiff’s congressional investigation.
                                                29
Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 30 of 41 PageID# 136




    congressional investigation into Fusion GPS and the “Steele Dossier”, and dissuade

    Plaintiff from making criminal referrals to the DOJ.

            57.     On February 2, 2018, President Trump declassified a memorandum

    prepared by House Intelligence Committee staff that discussed Foreign Intelligence

    Surveillance Act at the DOJ and FBI. The memorandum began as follows:




    Upon publication of the memorandum, Defendants, acting in concert, stepped up their

    efforts to interfere in Plaintiff’s investigation.

            58.     On March 1, 2018, CfA faxed a second “ethics” complaint against Plaintiff

    to OCE. This time, CfA falsely accused Plaintiff and staff members acting at his direction

    of having leaked to the press private text messages between Senator Mark Warner and

    Adam Waldman, a lawyer connected to Steele, in which Senator Warner tried to arrange a

    meeting with Steele.




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Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 31 of 41 PageID# 137




           59.    Defendants’ intended goal was to undermine confidence in Plaintiff, harass

    and overwhelm him with litigation, and distract him from his duties as a member of the

    House Intelligence Committee.

           60.    On July 11, 2018, CFA faxed a third “ethics” complaint to OCE, this time

    falsely stating that Plaintiff “violated federal law and House ethics rules by failing to

    include information on his personal financial disclosure forms and accepting an

    impermissible gift.” An accompanying press release published on CfA’s website contained

    the following defamatory clickbait headline:

     Ethics Complaint Against Rep. Devin Nunes for
        Lying About His Investments in Several
                California Companies
    [https://campaignforaccountability.org/work/ethics-complaint-against-rep-devin-nunes-

    for-lying-about-his-investments-in-several-california-companies/].

           61.    CfA’s third ethics complaint was the result of a joint effort that included

    Michael Seeley (“Seeley”), a political activist and long-time member of Southern

    California Americans for Democratic Action (“SCADA”), a left-wing, populist political

    organization committed to liberal politics, liberal policies, and a liberal future.

    [https://www.adasocal.org/board_members_1]. Upon information and belief, Fusion GPS

    and/or CfA directed Seeley to make a request under the California Public Records Act

    (“PRA”) for emails received by Plaintiff’s wife, Elizabeth, an elementary school teacher.

    Seeley’s request targeting Plaintiff’s wife ended up costing the Tulare County Office of

    Education thousands of dollars in unnecessary cost and expense.        Seeley published

    Elizabeth Nunes’ emails online and included the names and email addresses of numerous


                                               31
Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 32 of 41 PageID# 138




    school administrators and teachers, resulting in extensive harassment of these innocent,

    hard-working citizens of Tulare County, including hateful accusations that they teach

    bigotry and racism. [https://www.scribd.com/user/399236302/Michael-Seeley]. In fact,

    the school was so concerned about security problems resulting from this situation that it

    adopted enhanced security measures.

           62.     In addition to CfA, Fusion GPS, upon information and belief, recruited

    additional bad actors, including political operative Mair, and encouraged and enticed them

    to participate in the coordinated attacks upon Plaintiff. Mair works for anonymous, dark

    money clients. In her own words, she “anonymously smear[s]” her clients’ opposition “on

    the internet”. [https://www.linkedin.com/in/liz-mair-76b03a2/ (“What do I do for these

    clients? Anonymously smear their opposition on the Internet.”)]. Mair controls the Swamp

    Accountability Project (“Swamp”), a dark money group run out of Alexandria, Virginia.

    On the same day CfA filed its third complaint, Swamp filed an “ethics” complaint against

    Plaintiff. [https://swampaccountabilityproject.com/letter/]. It was no coincidence. It was,

    as Mair boasts, a planned and extremely well-organized smear campaign. The organized

    and coordinated attacks on Plaintiff bear all the hallmarks of a Fusion GPS smear operation.

           63.     The purpose of the Fusion GPS/CfA “ethics” complaints and other

    coordinated action undertaken by Fusion GPS was to create negative publicity for Plaintiff,

    to harass, intimidate and distract Plaintiff, to cast a pall upon the Congressional

    investigation into the role that Fusion GPS, Simpson and the Steele/Fusion “dossier”

    played in advancing the “Russia collusion” narrative, and to dissuade Plaintiff from

    pursuing criminal charges against Simpson and Fusion GPS. Just as they had done with

    Halvorssen and many others, Fusion GPS, acting in concert with CfA and Mair,



                                                32
Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 33 of 41 PageID# 139




    coordinated the attacks on Plaintiff with McClatchy, a newspaper with a known axe to

    grind against Plaintiff. Each of the “ethics” complaints filed against Plaintiff was leaked

    to McClatchy and immediately reported by McClatchy in the Fresno Bee. [E.g.,

    https://www.fresnobee.com/news/politics-government/politics-columns-blogs/political-

    notebook/article214693435.html].

           64.     On September 6, 2018, the Federalist reported that CfA refused to comment

    when asked if they had collaborated with Seeley in submitting the FRA request for

    Elizabeth Nunes’ emails. [https://thefederalist.com/2018/09/06/resistance-torches-devin-

    nunes-family-dared-expose-intel-agencies-collusion-democrats/      (“Devin     Nunes     is

    precisely why we know anything about Hillary Clinton and the Democratic National

    Committee's dishonest and bizarre activities. No wonder he’s a huge Democrat target”).

           65.     Although CfA defended Fusion GPS in its initial “ethics” complaint,

    Plaintiff did not know and could not have discovered the depth of the concerted effort

    between Fusion GPS and CfA to injure and intimidate Plaintiff and interfere with his

    congressional investigation.

           66.     On March 22, 2019, Special Counsel Robert Mueller submitted his

    confidential report entitled “Report on the Investigation into Russian Interference in the

    2016 Presidential Election” (the “Mueller Report”). The Special Counsel and his staff of

    19 lawyers, assisted by a team of approximately 40 FBI agents, intelligence analysts,

    forensic accountants, and other professional staff, issued more than 2,800 subpoenas,

    executed nearly 500 search warrants, obtained more than 230 orders for communication

    records, issued almost 50 orders authorizing use of pen registers, made 13 requests to

    foreign governments for evidence, and interviewed approximately 500 witnesses.



                                                33
Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 34 of 41 PageID# 140




            67.      The Mueller Report proves that the Steele/Fusion “dossier” was false and

    misleading in all material respects.

            68.      On August 1, 2019, Plaintiff learned that CfA paid Fusion GPS almost

    $140,000 in 2018 to conduct “research”.

            69.      CfA collaborated with Fusion GPS to weaponize the ethics process against

    Plaintiff.    The “ethics” complaints, reported by media sympathizer McClatchy as if

    legitimate, were, in fact, deceitful political attacks designed to intimidate Plaintiff and

    obstruct his congressional investigation.

            70.      In 2017, after Trump won the presidential election, the Democracy Integrity

    Project (“TDIP”) paid Fusion GPS and firms tied to it and Steele more than $3.8 million to

    continue opposition “research” on Trump and alleged “collusion” with “Russia”. TDIP

    paid $3.3 million to Fusion GPS, another $250,000 to “Walsingham Partners Ltd.”, a

    London-based firm owned by Steele and his partner, Christopher Burrows, nearly $130,000

    to “Edward Austin Ltd.”, a London-based intelligence consultancy operated by Edward

    Baumgartner, a Fusion GPS contractor, and another $148,000 to the law firm Zuckerman

    Spaeder, which has represented Fusion GPS in a variety of dossier-related legal matters.

    Perkins Coie paid $1 million to Fusion GPS in 2016 to investigate Trump. The payments

    made by TDIP are more than three times what the DNC and the Clinton campaign paid

    Fusion GPS and Steele during the 2016 presidential campaign to investigate Donald

    Trump’s possible ties to Russia. [https://dailycaller.com/2019/04/01/fusion-gps-steele-

    soros-millions/].

            71.      As Crime in Progress and the December 2019 IG Report both confirm,

    Fusion GPS’ dirty tricks and pattern of obstructing justice continue to the present day.



                                                 34
Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 35 of 41 PageID# 141




                                        COUNT I - RICO

           72.     Plaintiff restates paragraphs 1 through 71 of this Amended Complaint and

    incorporates them herein by reference.

           73.     Fusion GPS, Simpson and CfA corruptly and by threatening letters or

    communications influenced, obstructed and impeded, or endeavored to influence, obstruct

    or impede, the due administration of justice in violation of Title 18 U.S.C. § 1503(a).

           74.     Fusion GPS, Simpson and CfA knowingly used intimidation, threatened,

    and attempted to corruptly persuade Plaintiff, and engaged in misleading conduct toward

    Plaintiff with the intent to influence, prevent or delay the testimony of Plaintiff, other

    members of the House Intelligence Committee, and other third-parties in an official

    proceeding in violation of Title 18 U.S.C. § 1512(b)(1). Fusion GPS, Simpson and CfA

    also knowingly used intimidation, or attempted to do so, and engaged in misleading

    conduct toward Plaintiff with the intent to cause or induce Plaintiff to withhold one or more

    criminal referrals to the DOJ in violation of Title 18 U.S.C. § 1512(b)(2).

           75.     Fusion GPS, Simpson and CfA intentionally harassed Plaintiff and thereby

    hindered, delayed, prevented or dissuaded Plaintiff and other members of the House

    Intelligence Committee, or attempted to do so, from (a) reporting to a law enforcement

    officer of the United States, including the FBI and/or DOJ, the commission or possible

    commission of a Federal offense, (b) seeking the arrest of Simpson, other officers and

    employees of Fusion GPS, and/or Steele, and (c) causing a criminal prosecution to be

    sought or instituted, in violation of Title 18 U.S.C. § 1512(d)(2-4).

           76.     Fusion GPS, Simpson and CfA knowingly, with the intent to retaliate, took

    action harmful to Plaintiff, including interference with Plaintiff’s lawful employment and



                                                 35
Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 36 of 41 PageID# 142




    livelihood as a U.S. Congressman, for providing to a law enforcement officer truthful

    information relating to the commission or possible commission of a Federal offense by

    Fusion GPS, Simpson and/or other officers and employees of Fusion GPS in violation of

    Title 18 U.S.C. § 1513(e).

           77.     Fusion GPS and Simpson, together with Orbis and Steele, corruptly created

    and supplied a fraudulent document – the “Steele Dossier” – and made false statements to

    the FBI, DOJ, State Department, and to Congress for the express purpose of influencing

    the outcome of the 2016 U.S. Presidential election and, thereafter, to topple a sitting

    President. In his capacity as a United States Congressman, Plaintiff investigated the

    allegations of “collusion” between the Trump campaign and persons associated with it and

    Russia. Plaintiff investigated the role of Fusion GPS, Simpson and the “Steele Dossier” in

    advancing the “Russia collusion” narrative. Plaintiff discovered that Fusion GPS and

    Simpson committed multiple federal crimes, including violations of Title 18 U.S.C. §§

    1001 and 1505. Through a pattern of racketeering activity that, inter alia, involved acts of

    wire fraud in violation of 18 U.S.C. § 1343 and obstruction of justice in violation of Title

    18 U.S.C. §§ 1503, 1512 and 1513, the Defendants engaged in concerted action the purpose

    of which was to harass, intimidate, influence, obstruct and impede Plaintiff’s investigation,

    to dissuade Plaintiff from making a criminal referral, and to injure Plaintiff’s reputation.

    The Defendants functioned as a continuing unit. As an “astroturfer”, Fusion GPS and

    Simpson chose CfA, Mair and McClatchy as fronts or “cut-outs” for the smear campaign.

    The Defendants controlled the specific means and methods employed by the enterprise, the

    nature and timing of the smear campaign launched in January 2018, and they pursued a

    common goal of intimidation and harassment.



                                                 36
Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 37 of 41 PageID# 143




           78.     Plaintiff has been injured in his business, property and reputation by reason

    of Defendants’ multiple violations of Title 18 U.S.C. § 1962, described above. Defendants

    proximately caused Plaintiff’s loss. Their collusion to smear Plaintiff and to obstruct his

    congressional investigation of Fusion GPS and the “Steele Dossier” and their actions in

    levelling the fraudulent “ethics” complaints led directly to Plaintiff’s injuries. Defendants

    have engaged in at least two acts of racketeering activity (wire fraud and obstruction of

    justice), one of which occurred after the effective date of Part 1, Chapter 96 of Title 18 of

    the United States Code and the last of which occurred within ten years after the commission

    of a prior act of racketeering activity. Defendants operated or managed an enterprise

    through a pattern of racketeering activity. Defendants continue to engage in related

    racketeering activity, the direct purpose of which is to intimidate and harm Plaintiff and to

    interfere with his congressional investigation, which continues.           The nature of the

    Defendants’ racketeering activity (including its multiple schemes or artifices), its

    continuity (over many years in the case of Fusion GPS and Simpson), its relatedness (same

    modus operandi as has been used against multiple other targets, same media sympathizer,

    McClatchy, same or similar purposes, results, and methods of commission), and its breadth

    (the sheer number of victims), is such that there is a threat that it will continue indefinitely

    and be repeated in the future. Defendants’ past misconduct, including aggressive smear

    campaigns undertaken against Halvorssen, Browder, Trump and Plaintiff, by its nature

    projects into the future with the threat of repetition. Indeed, Fusion GPS was paid

    $3,300,000 in 2017 to continue the campaign against President Trump.

           79.     As a direct and proximate cause of the Defendants’ violations of Title 18

    U.S.C. § 1962(a-c), Plaintiff suffered injury and loss.



                                                  37
Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 38 of 41 PageID# 144




           80.     In accordance with 18 U.S.C. § 1964(c), Plaintiff seeks threefold the

    damages he has sustained, the costs of this suit, and reasonable attorney’s fees incurred.

                              COUNT II – RICO CONSPIRACY

           81.     Plaintiff restates paragraphs 1 through 80 of this Amended Complaint and

    incorporates them herein by reference.

           82.     Beginning in or about January 2018 and continuing through the present,

    Fusion GPS and Simpson combined, associated, agreed or acted in concert with CfA and

    others, including Mair, for the express purposes of injuring Plaintiff through a pattern of

    racketeering activity and acts of racketeering in violation of Title 18 U.S.C. § 1962.

           83.     Defendants acted intentionally, purposefully, without lawful justification,

    and with the express knowledge that they were injuring Plaintiff’s business and reputation.

           84.     As a direct and proximate cause of the Defendants’ violations of Title 18

    U.S.C. § 1962(d), Plaintiff suffered injury and loss.

           85.     In accordance with 18 U.S.C. § 1964(c), Plaintiff seeks threefold the

    damages he has sustained, the costs of this suit, and reasonable attorney’s fees incurred.

                        COUNT III – COMMON LAW CONSPIRACY

           86.     Plaintiff restates paragraphs 1 through 85 of this Amended Complaint and

    incorporates them herein by reference.

           87.     The Defendants’ actions, detailed above, constitute a conspiracy at common

    law.

           88.     As a direct result of the Defendants’ willful misconduct, Plaintiff suffered

    damage and incurred loss, including, but not limited to, injury to his business and

    reputation, court costs, and other damages.



                                                  38
Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 39 of 41 PageID# 145




                                         CONCLUSION

           Fusion GPS, Simpson and Steele fraudulently developed the Steele/Fusion

    “dossier” and disseminated it to U.S. Government officials and the press as if the salacious

    accusations were true. Plaintiff investigated this wrongdoing, causing Fusion GPS and

    Simpson to retaliate against him and to take action that was intended to harass, intimidate

    and influence Plaintiff in the performance of his congressional investigation. That

    retaliation and obstruction of justice consisted of a coordinated effort by the Defendants to

    manufacture “ethics” complaints against Plaintiff and to utilize the press (McClatchy) as a

    weapon to pressure Plaintiff to back off his investigation of Fusion GPS and Simpson.

    Defendants’ corrupt acts of racketeering are part of their regular way of doing business.

    That way of doing business must end here and now.



           Plaintiff alleges the foregoing based upon personal knowledge, public statements

    of others, and records in his possession. Plaintiff believes that substantial additional

    evidentiary support, which is in the exclusive possession of the Defendants and their agents

    and other third-parties, will exist for the allegations and claims set forth above after a

    reasonable opportunity for discovery.

           Plaintiff reserves his right to amend this Complaint upon discovery of additional

    instances of the Defendants’ wrongdoing.




                                                 39
Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 40 of 41 PageID# 146




                        CONCLUSION AND REQUEST FOR RELIEF

           WHEREFORE, Plaintiff respectfully requests the Court to enter Judgment against

    the Defendants, jointly and severally, as follows:

           A.      Compensatory damages in the amount of $3,300,000 or such greater amount

    as is determined by the Jury;

           B.      Threefold damages in the sum of $9,900,000.00;

           C.      Punitive damages in the amount of $350,000 or the maximum amount

    allowed by law;

           D.      Disgorgement of all income and profit obtained by the enterprise from or as

    a result of the alleged racketeering activity;

           E.      Injunctive relief in accordance with Title 18 U.S.C. § 1964;

           F.      Dissolution and/or reorganization of Fusion GPS and CfA to prevent these

    Defendants from engaging in wrongdoing in the future;

           G.      Prejudgment interest at the maximum rate allowed by law;

           H.      Postjudgment interest on the principal sum of the Judgment entered against

    Google from the date of Judgment until paid;

           I.      Attorney’s Fees, Expert Witness Fees and Costs;

           J.      Such other relief as is just and proper.



                               TRIAL BY JURY IS DEMANDED



    DATED:         December 13, 2019




                                                     40
Case 1:19-cv-01148-RDA-TCB Document 12 Filed 12/13/19 Page 41 of 41 PageID# 147




                                  DEVIN G. NUNES



                                  By:    /s/ Steven S. Biss
                                         Steven S. Biss (VSB # 32972)
                                         300 West Main Street, Suite 102
                                         Charlottesville, Virginia 22903
                                         Telephone:      (804) 501-8272
                                         Facsimile:      (202) 318-4098
                                         Email:          stevenbiss@earthlink.net

                                         Counsel for the Plaintiff




                                CERTIFICATE OF SERVICE

           I hereby certify that on December 13, 2019 a copy of the foregoing was filed

    electronically using the Court’s CM/ECF system, which will send notice of electronic filing

    to counsel for the Defendants and all interested parties receiving notices via CM/ECF.




                                  By:    /s/Steven S. Biss
                                         Steven S. Biss (VSB # 32972)
                                         300 West Main Street, Suite 102
                                         Charlottesville, Virginia 22903
                                         Telephone:      (804) 501-8272
                                         Facsimile:      (202) 318-4098
                                         Email:          stevenbiss@earthlink.net

                                         Counsel for the Plaintiff




                                                41
